                           Case 1:10-cr-00162-KMW Document 211 Filed 02/20/15 Page 1 of 6
                                                                                                                               USDSSDNY
AO 245B          (Rev 09108) Judgment Jn a Cnmmal Case
vl               Sheet l                                                                                                       DOCUMENT



                                                    SOUTHERN DISTRICT OF NEW YO
                                                                                      )
                UNITED STATES OF AMERICA                                              )        JUDGMENT IN A
                                    v.                                                )
                                                                                      )
                           WESAM EL-HANAFI
                                                                                      )
                                                                                                Case Number: 01: S7 10 CR 162-01 (KMW)
                                                                                      )        USM Number: 75731-083
                                                                                      )
                                                                                      )         Sar~l_l_ KL:!nstl~r_.__f::_sg. (AUSA Jo~ Cr()!1_~!1J __
                                                                                               Defendant·s Attorney                                           ---
THE DEFENDANT:
Ji'pleaded gmlty to count(s)              counts 1 and 2
D pleaded nolo contendere to count(s)
      which was accepted by the court.
D was found guilty on count(s)
                                                                                              ----·····-····           -    -·-- - - - - -
      after a plea of not guilty

The defendant is adjudicated gut lty of these offenses·

Title & Section                                                                                                                                               Count

 18 U.S.C. 2339 B                    Provldi11g Material Support or Resources to a Foreign                                        3/31/2010
                                                                   "=""'"'!>-'**,;,

                                          Terrorist Organization

     1~.~-S.C. 371                   Conspiracy to Provide Material Support or Resou'rces to a                                  ' 3/31/20:10

                                           Foreign Terrorist Organization


0     Sec add1t1onal count(s) on page 2


      The defendant 1s sentenced as provided m pages               through 6                 of this Judgment. The sentence 1s imposed pursuant to the
Sentencmg Reform Act of 1984.
D The defendant has been found not gmlty on count(s)
 ti'Count(s)       underlying indictments                  D is ~;r; d1sm1ssed on the mot10n of the United States. -
         It is ordered that the defendant nust notify the Umted States attorney for tlus d1stnct w1thm 3 0 days of any change of name, residence,
or mail mg address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitutton,
the defendant must notify the court and lJmted States attorney ofmatenal changes in economic circumstances.
                                                                                      January 20, 2015
                                                                                      Date of Imposltlon of Judgment




                                                                                      l~
                                                                                  - ··-··.     . . -·--·- . . .
                                                                                                                  ~            ,,,.._ _ _}
                                                                                                                       .... _ _VV_L_Yf!. _.
                                                                                      Signature of Judge


                                                                                      KIMBA M. WOOD. U.S.D.J. · - - - - - - - - -
                                                                                      Name of Judge                                          Title of Judge



                                                                                  _B-b._~                         t·       U> It; ____.
                                                                                      Date
                          Case 1:10-cr-00162-KMW Document 211 Filed 02/20/15 Page 2 of 6

AO 245B            (Rev 09/08) Judgment m a Cnmmal Case
vi                 Sheet 2 - Impnsonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: WESAM EL-HANAFI
     CASE NUMBER: 01: S7 10 CR 162-01 (KMW)


                                                                   IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total te1m of:
      15 years on Count 1 and 5 years on Count 2, to run concurrently.




        az1" The court makes the following recommendations to the Bureau of Prisons:

     That the defendant be incarcerated at FCC Butner.




        tY1'   The defendant is remanded to the custody of the United States Marshal.

        0      The defendant shall surrender to the United States Marshal for this district:

               0    at                                    0 a.m.      0   p.m.     on __ _

               0    as notified by the United States Marshal.

        0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               0    before                 on

               0    as notified by the United States Marshal.

               0    as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
     I have executed this judgment as follows:




               Defendant dehvered on                                                            to

     a _ _ _ _ __                                          , with a certified copy of this judgment.


                                                                                     ---       ----------
                                                                                                          UNITED ST A TES MARSHAL


                                                                                 By _ _ _ _ __         ---------
                                                                                                       DEPUTY UNITED STATES MARSHAL
                         Case 1:10-cr-00162-KMW Document 211 Filed 02/20/15 Page 3 of 6

A0245B            (Rev 09108) Judgment m a Cnmmal Case
vi                Sheet 3 - Supervised Release


 DEFENDANT: WESAM EL-HANAFI                                                                                              Judgment Page 3 of 6
 CASE NUMBER: 01: S? 10 CR 162-01 (KMW)
                                                           SUPERVISED RELEASE
 Upon relea5e from imprisonment, the defendant shall be on supervised release for a term of:
 3 years on each count. to run concurrently.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one diug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D         The above diug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check. 1fappbcable)

 D         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable)

 D         The defendant shall cooperate in the collection of DNA a5 directed by the probation officer. (Check. if applicable)

           The defendant shall comply with the requirements of the Sex Offender Regi5tration and Notification Act (42 U.S.C. § 16901, et seq.)
 D         as directed by the probat10n officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides
           works, is a student, or was convicted of a qualifying offense. (Check. if applicable J                                                '

 D         The defendant shall participate in an approved program for domestic v10lence. (Check. if applicable)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay m accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STAND ARD CONDITIONS OF SUPERVISION
      I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a tiuthful and complete written report within the first five days of
            each month;
     3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons,
     6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled sub5tance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any persons engaged in criminal activity and shall not as5ociate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
     10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceirent officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court: and

     13)     as directed by the probation officer, the defendant shall notio/ third parties ofrisks that may be occasioned by the defendant's criminal
             record or l?ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
                      Case 1:10-cr-00162-KMW Document 211 Filed 02/20/15 Page 4 of 6

AO 2458        (Rev 09108) Judgment m a Cnrrunal Case
vi             Sheet 3C -   Supervised Release


 DEFENDANT: WESAM EL-HANAFI                                                                             Judgment Page: 4 of 6
 CASE NUMBER: 01: S? 10 CR 162-01 (KMW)

                                             SPECIAL CONDITIONS OF SUPERVISION
     The standard and mandatory conditions of supervised release apply, along with the following special conditions:



     The defendant shall submit his person, residence, place of business, vehicle, or any other premises under his control to a
     search, on the basis that the probation officer has reasonable belief that contraband or evidence of a violation of the
     conditions of the release may be found. The search must be conducted at a reasonable time and in a reasonable manner.
     Failure to submit to a search may be grounds for revocation. The defendant shall inform any other residents that the
     premises may be subject to search pursuant to this condition.

     When released from custody, the Defendant shall report to the nearest probation office within 72 hours.

     The defendant shall be supervised by the district of his residence.
                    Case 1:10-cr-00162-KMW Document 211 Filed 02/20/15 Page 5 of 6

AO 245B      (Rev 09/08) Judgment m a Cnmmal Case
vi           Sheet 5 -   Cnmmal Monetary Penalties

                                                                                                                     Judgment Page: 5 of 6
 DEFENDANT: WESAM EL-HANAFI
 CASE NUMBER: 01. S710 CR 162-01 (KMW)
                                               CRIMINAL MONET ARY PENAL TIES
      The defendant must pay the total cnminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                           Fine                            Restitution
 TOTALS            $ 200.00                                              $ 0.00                          $ 0.00


 D The determination of restitution is deferred until                        An Amended Judgement in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payee5 in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664l1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee




 TOTALS                                                                               $0.00                  $0.00


 D    Restitution amount ordered pursuant to plea agreement $                ··-----·---

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be sub1ect
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the              D fine     D restitution.
      D the interest requirement for the             D   fine    D restitution is modified as follows:


 *Findings for the total arrount of losses are required under Chap:ers 109A. 110, 11 OA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                      Case 1:10-cr-00162-KMW Document 211 Filed 02/20/15 Page 6 of 6

AO 2458         (Rev 09/08) Judgment m a Cnmmal Case
vi            Sheet 6 -   Schedule of Payments

                                                                                                                      Judgment Page: 6 of 6
 DEFENDANT: WESAM EL-HANAFI
 CASE NUMBER: 01: S7 10 CR 162-01 (KMW)

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~ Lump sum payment of$ 1_0_Q_.()_Q ____ due immediately, balance due

            D      not later than                                  , or
            D      in accordance           0     C,    0 D,   0      E, or    D F below; or
 B     D    Payment to begin immediately (may be combined with               oc,      D D,or       D F below); or
 C     D    Payment in equal                 (e g. weekly. monthly, quarterly) installments of $                            over a period of
           ________ (e.g. months or years), to commence                       (e g. 30 or 60 days) after the date of this judgment; or

 D     D    Payment in equal _        __ ___ _ _ (e g. weekly, monthly. quarterly) installments of $                         over a period of
                             (e g. months or years), to commence                  (e g. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D    Payment during the term of supervised release will commence within _________ (e g. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     O Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, ]Jayment of crirrinal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Fmanc ial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 ~ Joint and Several
       Defendant and Co-Defendant Names and Case ]\;umbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
       Forfeiture is joint and several with codefendant in 10 CR 162 (KMW)




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 rfl   The defendant shall forfeit the defendant's interest in the following property to the United States:
       $ 70.000


 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
